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IN Tl:[E CIRCUIT CDURT DF THE TEN'I`H JUDICIAL
CIRCUIT IN AN]] FDR PDLK CDUNTY, FLDRII|A

 

icle DMSIUN
Lisii GALARZA, iiiiiii.»ii:iiii=.iiy,rl sess iiin.i ss-zs cs-iicl£l_} 1 ?_ -nnee'.eu
and her spouses FAF.PLEL GALARZ.A, SEC.
SECI'I UN: ` __

Plainti H's,
v.

mission GAMBGE Eiii"i'siisiiisss, ma
miii ii:iHi~i w. Hi_ieirss, iiiiiii.»ideaiiy,

Defeodsnts.

CDI\'[P

Plaioti;E`E, LISA GALARZA, individuall}', and herspouse, FARAEL G'ALARZ-A, through
their undersigned alterney, herebyr sue D¢f`end.eots. VER]'~IGN GM»'[BOE EI*I"I'ERPRISES. IN£J_

and icin w. HiieHEs, ineivieusiiy, me allege

L NS C[] D

l . Thjs is en action for damages which exceed 5 l $,Dl]i].[li.`i.

2. Pleji:l.liii`s, Ll SA GALARZ.A, inclividua]ly,andher spouse, FARAEL GALARZA. iu'e

residents ef Leke]and, Felk Ceunty, F]eri'de.
l Deiendant, VER.T~IOH GM~¢£BDE ENTE.RPR]SES, INC. {iie.reinafcer “VERNi`iN

GAMHUE“], with its principal place of business ET 5495| Keene-Versailles, "i"erssj]les, K`i" 40333.

and at all times msteri'ai herein wes doing business in Pe|k Ceunty, FIerids-..

saws-ong sssrssss;r..iis sums ssii:ssssss xiii ri=iii iiiis:i:isisi

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4. Del'endant, JCIHN W. I-l'l.lGHES, is a resident of Nieholaa, lessemi.ne Coanty,

Kenmeicy and was an employee of VERNDN GAMBGE at all times material hereto.

5. (}n or shoutNovernher 13, ZEDSF. Dei`endant, VERNDN GAMBOE, owned a motor
vehicle which was operated with its consent by `['.'tefierir.ltn'itT JOI-l]\i W. l-l`UGI-IES, iri or near Liilrelani:l1

Pollt County, Fiorii:ls_

d itt that time and place Defeodant, .T{iI-l]~i W. HUGHES. an employee
ni' `i"‘ERNDN GAMB{JE. negligently o].'iera:liei:lq controlled or maintained the vehicle so that it
collided with the motor vehicle owned and operated by Plttintiff. LISA GALARZA.

't'. sill conditions precedent to this cause infection have occi.itred_. been perionncd. or

have been waived

§§H.Mll

NEGL]GENCE I.'ILAIM OF LISA GALARZ.A AGA]NET
V`ERNDN GM[|EIUE ENI'ERPR[SES, ]NC.

S. Plnintiii`s reallege paiagrnphs 1 through 7 as though fully set forth herein

9. fin or about Hovelnher ll 2009, Plairitifl", LISA GALARZ.A, was the owner and
operator of a 2003 Pnntiac-Pont motor vehicle as both parties herein proceeded southbound nri
Soiith i*`lorida hvenue, they came to a red traffic signal. Plaintifi`, LISA UALARZ.A, brought ncr
vehicle lo a complete stop. De‘fentim'it, IUHN W. HUGHF.S, then pulled his Et}l]=li Pelerhuilt semi-
tractnr trailer so close to the rear of Plainti)':`t"s vehicle that she was nn longer visible in front of him.
hs you are awsre, Floridn law places en affirmative obligation on commercial drivers to maintain

a clear field of vision as to ali surroi.mding tratiic, especially that directly in front of thern. eis i|ie

Plge -1-

LZ'D.»"EIE||J|E SHSI'HdH'.`-.LINH ED‘EE`E"B EEL'EE?EEEE I"l"d l[iZl |IDE.FGZ."FI

Case 8:12-CV-O2096-EAK-TBI\/| Document 2 Filed 09/17/12 Page 3 of 7 Page|D 73

light turned gr'een, Dei`endant, .ltJI-l]\l W. HUGi-[ES, failodto allow the trat’lic in front of him to clear
before he began piovring his nnoir fora-ard -The massive .truclt nearly ran Plaintiff, LISA
GALARZA's, vehicle over as he repeatedly manned her vehicle h'nm the rear.
lll. lott that time and place, l]ei`endant. lt"'ERNUN GAMBDE, was negligent iri the
following respects:
a. Defendant i'ai led to observe due care and precaution., failing to maintain
proper control ofthe motor vohicle',
b. Defendant failed to keep a proper lanham l`or ot her ' vehicles lawthlly
traveling upon the roodwa.y; and
c. Defendant failed to exercise reasonable care in the operation of the motor
vehicle maier the circumstances then and there eaisting.
ii. Each of the acts of negligence on the part ot'Defendant, lt"‘ERNDN GAMBDE, was
a direct and proximate cause of the collision with P'laintifi`, LlSri. GALARZ.A’s motor vehicle
is. aa a mann ar ora araraaairi aaaiigaaaa aaa aaraiaaaaaaa ar oataanaaa vsanr_ii~i
GAMB'DE, F*laintiff'1 LlSA GALARZA, has suffered bodily injury and resulting pain and an`nring,
unpairmcnt, disability, disfigurement mental anguish. aggravation ot'a previously outlining condiriim,
lnas oi' capacity i'or the -joyrnent of lit`e, expense ol" hospitalization medical and nursing care and
treatment loss ot”earnings, and loss of ability to earn mooey. The losses arc either pen'naneni or
cooti.ouing, and Flaintili`, .LISA GALARZA, 1tvill suffer the losses in the homes Snme or all of the
injuries sustained are pennanent within a reasonable degree of medical probability. eltcrnativniy,
and»"or in additiorr_. Flaiotilf, LISA GALARZA. has significant and permanent loss ofan important

bodily timcrion, andtnr signi.licant and permanent scarring or disfigurement

l»"age -tl-

.tEt]r'.tlItll. BHEIHEHH.L|N[H HU'HI'EJ' EE.H"§$E‘EE'E .'li\".':l ZT:ZI ||tl€f|lIE/'El

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WHEREFORE, Plaintiff. LISA GALARZA, demands judgment against DeferidnnL

VERNU`N GALTBUE ENT.ER.FRISES, ]NC, for compensatory damagesr interest and costs ot` this

proceeding

EDJLHI.H.

WCA.RIDUS LMB]LI'I'Y AGA[NST
VERNDN GM'[BUEE ENTE.RPRISES., INC

13. Flnintitisreollegeparagrapln l through i'and?through 12 asthnugh fullyset i`orrh
herein.

|4. On or about `l‘~lovemher 13, 1001 and at all times material hereto, Det`et'tdat‘it,
VERNDN GAMEDE, employed Det'endant, JDEU W. HU{.iHEE, and was vicariously lieble, under
thc rsspona*eorsuperior doct:l"tne, for negligentaots or nrrrissions by its employee while inthc course
ol` employment

WHEREFDRE, PlaintiE, LISA GALARZA, demaan judgment against Defendaor, `
VERNUN GAMBDEE Ei~l'l"ERPR.lSES, INC, for compensatory damages interest and costs of this

proceeding.
m

N'EGLIGENC`E CLAIM i]li' LIS-ilt. GALARZA
AGAINST JUH'N W. HUGHES

l$. Flaintifl`s reallege paragraphs l tl'unugh 7 as though fully set forth hcrein.
lti. t`.to or about Noverober 13, 2009. Flaintiff_. LISA GALARLA., was the owner nod

operator of a 2003 Pontiac-Pont. motor vehicie. ha both parties herein proceeded southbound no

i'ege 4-

LHDH'EDD@ BEEIHdHE.Ia\lEl HDE'H"|`EJ' EZLE.`EEHEEB‘ I'\".:l E`[lZl' |tt'lEfl]ZfZT

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Soi.tth f~`lorida Avenne, they came to ared traffic signal. Plaintifl.`, LISA GAI_ARZ.A, brought her
vehicle to a complete stop I]~efend.a.trt., JUHN W. HUGHEB, then pll.lledh.is 2005 Peterhuilt semi-
trat:tor trailer so close to the rear of Plaintil‘l“" s 1l¢-'eltittle that she was no longer visible in h'ont ofhim.
As you are awaoe. Florida law places an afE.tmative obligation on eonnnereial drivers to maintain
a clear field of vision as to all surrounding ua.ffic, especially that directly in front oftl:tcm. as the
light turned green, l?lefcntiant1 IOHN W. HUGl-[ES, failed to allow the traffic in front ofhim to clear
before he began plowing his mick forward. The massive truck nearly ran Plainiiff, |.Ei‘irlL
EALARZA’s, vehicle over as he repeatedly rcmmed her vehicle horn the reor.
l'l. art diet time and plane1 Defeodant, ICII-l]\l W. HUGH.ES, was negligent `ut the
i"oll.ovin'i:rgl respects.'
a, Defendant failed to observe due care and preeantion, failing to maintain
proper control of the motor vehic|e;
h. Defeudsntfailed to keep a proper lookout for other veh icles lawfully
traveling upon the roadway; and
c. Defendant failed to exercise reasonable care in the operation of the motor
vehicle under the circumstances then and there existing
13. Each oft.he acts of negligence on the part of Defendant, JOHN W. l~leGHES_. was
a direct and proximate cause ofthe collision with Plaintitf. LISA GALARZA’:| motor vehicle
19. as aresult ofthe aforesaid negligence end carelessness ochfendant, it]l fbi
`W. HUGHES. l"'la.intiff, LISA GALARZP., has suffered bodily injury and resulting pain and
sufferingl impairment, disebility, disfig'tn'entent. mental aogtliah. aggravation ofa previously existing

ccndi dcn, loss ofcapacity for the enjoyment of life, expense of homitaliraticn, medical and nursing

hg;¢-$-

.'_Z'DJ’B|][I|E SI§IIEIHH.LNE HU'|IET|'S| 'EZLE'EE'EEEB I'b'd ZTZZT lr{|EflefZI

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care and n'eatment, loss of earningsT and loss of ability to earn money. ‘l"he losses are either
pnrmanentcr continuing md Fla.inti& I..ISAGALAR.ZA, will suffcr_the losses in the ti.lture. Sume
or all of lite injuries sustained are petmanmt within a reasonable degree of medical probability.
siennsvay, resentenced rtsisaa,r.rsa osissza,hss spinemsnsmsnncrs ct
an important bodily fu.nciion. and.l"or signi:Ecant and permanent starting or disfigurement
wasnsrons,stsrsnrr. Lrss careless1 demands jcag;nentsgsinnoctrnsmr roan

W. HUGHES, for compensatory damages interest and costs ofthis proceeding

CQL]E[ IV

CONSDR"I'IUM C‘LAIh'I DF FARAEL GALARZA
AGA]NS»T VERNDN GAMBC|'E ENTERPRISES-, INC.

rc. sustains sasser oar,snzn. returns paragraphs r simms t, s through tr. sss
14 as though fully set forth herein

21 . At all times material hereto, FARA.EL GALARZA was and is the spouse ol`Plar`ntiff_.

LISA GALARZA.
22. Plainti‘f'f, FARAEL G..‘*J_.ARZA, as a direct and proiti mate result of the negligence of

Defendant, V'ERNUN GAlv[BUE, has suffered and will continue to suffer the loss of his wife's
services oomfort, society and attention

WHEREFDRE, Plaintifl", FM GAI.ARZA, demands judgment against Defendruit.
VERNGN GAMBOE ENT'ERFR.`LSES, I'NC,, for eornpensatorydamages, interest and costs nfo-lis

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consortnohr cream ns ranasL carranza
sonnier louis w. notions
23. assess FARAEL oar..hrcza, manager pmg'm'rrhr r enough hhs rs through rs

as though faithr set forth berein.
23. at all times material hereto. FARAEL GALARZA was and is the spouse t::»fl"lairrtift`:l

 

LISA GALAH.Z.A.
24. 'Flainn'it`, FARA EL GALARZA, as adirect and proxmtate result ofthe negligence of

Defeudant, JDi-l}l W. HUGHES has suffered and will continue to suffer the loss oi` his thife"s
services. eoro.f`¢irt, society and attention
FDRE, Plaintii£ FARAEL GALARZA, demands judgment against Det'endant,

JOHN W. HU I~[ES, for eon'rper:l.'artor},r damages interest and costs oftiris proceeding

HEMMBHM

Flainti , LISA GALARZA, individuaily. and her spouse, FARAEL GALAIE?A, demand
a trial by jury -all issues so triable1

D.-\'TE diis_!i_t;h_day of]_}£_eg|]g|; 201 1.

EMITH, FEDDHER Sl'v[['I`I-I dc M.ILE»S, P’.r’r.

',74’..¢.¢¢-"-'-'7'""

Tu»dri N. Po.t!'isil, Esquire
Post UfEce Drawer 1089
Lakl:iand, Florida 33 392
BEEIEEEFTTIS‘E

Flcu'ida Bar 'No. 5041523
At!orneyfor Fiaintij’$

his -'.|'-

rzo_xrrom assts-strahan aoauts sassasaasa rra tr=a`t Ilui'kb`irzt

